
MADDOX, Justice
(concurring in the result).
I concur in the result only. I agree with the principle stated by the majority that a published annexation bill that does not provide for a referendum may be amended by the legislature to eliminate a portion of the territory as described in the notice and, thus, that such an amendment would not make the act violate § 106 of the Alabama Constitution. The result reached here is consistent with the views I expressed in City of Mobile v. Aborady, 600 So.2d 1009 (Ala.1992) (Maddox, J., dissenting), and Lowe v. Pension Bd. of the Gen. Retirement System for Employees of Jefferson County, 665 So.2d 195 (Ala.1995) (Maddox, J., dissenting).
